Case 2:18-cv-11047-KM-JBC Document 72-3 Filed 11/02/18 Page 1 of 2 PageID: 1282



 Edward S. Kiel (019881991)
 Eric S. Latzer (023192011)
 Elizabeth A. Carbone (116052014)
 COLE SCHOTZ P.C.
 Court Plaza North
 25 Main Street
 Hackensack, New Jersey 07602-0800
 201-489-3000
 201-489-1536 Facsimile
 Attorneys for Defendants Garth Andre Naar and Avatar Management LLC

 EHP60N WAKEMAN LLC, EHP248O CENTER                    UNITED STATES DISTRICT COURT
 LLC, EHP120N IVY LLC, EHP242EO BURNETT                FOR THE DISTRICT OF NEW JERSEY
 LLC, ERIC HANTMAN, derivatively on behalf of          CIVIL ACTION NO. 2:18-cv-11047-KM-JBC
 EHP76B HECKEL LLC, EHP224N PARKER LLC,
 HHP256 NEPTUNE LLC, UHP461-HHP6600NB
 SMITH LLC, and PRIME NY INC., derivatively on                            Civil Action
 behalf of EHP105N SCHOFIELD LLC, 475E
 CATHERINE LLC, EHP28-30 GREYLOCK LLC, and
 EPH312N SUMMER LLC,

                         Plaintiffs,                    [PROPOSED] ORDER GRANTING
           v.                                          COLE SCHOTZ P.C.’S MOTION FOR
                                                           LEAVE TO WITHDRAW AS
 GARTH ANDRE NAAR, AVATAR MANAGEMENT                      COUNSEL FOR DEFENDANTS
 LLC, and SILVAN REAL ESTATE INCOME FUND,                  GARTH ANDRE NAAR AND
 LP,                                                      AVATAR MANAGEMENT LLC
                    Defendants,
         and

 EHP76B HECKEL LLC, EHP224N PARKER LLC,
 HHP256 NEPTUNE LLC, UHP461-HHP6600NB
 SMITH LLC, 475E CATHERINE LLC, EHP28-30
 GREYLOCK LLC, and EPH312N SUMMER LLC.

                          Nominal Defendants.




          THIS MATTER, having been brought before the Court by way of Cole Schotz P.C.’s

 motion seeking leave to withdraw as counsel for defendants Garth Andre Naar and Avatar

 Management LLC (collectively, the “Avatar Parties”); and the Court having considered the

 papers filed in support of the motion and in opposition thereto, if any; and for good cause shown;


 58225/0001-16502319v1
Case 2:18-cv-11047-KM-JBC Document 72-3 Filed 11/02/18 Page 2 of 2 PageID: 1283




          IT IS on this ______ day of December, 2018,

          ORDERED that Cole Schotz P.C.’s motion for leave to withdraw as counsel is granted;

 and it is further

          ORDERED that Cole Schotz P.C. is hereby relieved as counsel for the Avatar Parties;

 and it is further

          ORDERED that within three (3) days of receipt of this Order, Cole Schotz P.C. shall

 serve a copy of this Order on the Avatar Parties by electronic and overnight mail; and it is further

          ORDERED, that Avatar Management LLC shall obtain substitute counsel within _____

 days of receipt of this Order.




                                                      Hon. Kevin McNulty U.S.D.J.




                                                  2
 58225/0001-16502319v1
